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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


GANNETT SATELLITE INFORMATION
NETWORK,

                       Plaintiff,
                                                      Case No. 1:22-cv-475-BAH
        v.

 U.S. DEPARTMENT OF JUSTICE,

                       Defendant.


                                    NOTICE OF APPEARANCE

TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       Please take notice that undersigned attorney Yuri S. Fuchs, of the United States.

Department of Justice, hereby enters his appearance as counsel for Defendant.



Dated: January 29, 2025                     BRETT A. SHUMATE
                                            Acting Assistant Attorney General
                                            Civil Division

                                            MARCIA BERMAN
                                            Branch Director

                                            s/ Yuri S. Fuchs
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